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Bureau of Consumer Financial Protection


                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA


Bureau of Consumer Financial Protection,                Case Number

                       Plaintiff,

                       v.

Village Capital & Investment LLC,                       COMPLAINT

                       Defendant.




       The Bureau of Consumer Financial Protection (Bureau) brings this action against

Village Capital & Investment LLC (Village Capital or the Company) under the Consumer

Financial Protection Act of 2010 (CFPA), 12 U.S.C. §§ 5531, 5536(a), 5564, 5565, and

alleges as follows.

                                    Jurisdiction and Venue

       1.       This Court has subject-matter jurisdiction over this action because it is

brought under “Federal consumer financial law,” 12 U.S.C. § 5565(a)(1), presents a federal




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question, 28 U.S.C. § 1331, and is brought by an agency of the United States, 28 U.S.C. §

1345.

        2.       Venue is proper because the Company resides and transacts business in this

district. 12 U.S.C. § 5564(f).

                                              Parties

        3.       The Bureau is an independent agency of the United States created by the

CFPA. 12 U.S.C. § 5491(a). The Bureau has independent litigating authority and is

authorized to initiate civil actions in federal district court to secure appropriate relief for

violations of “Federal consumer financial law,” 12 U.S.C. § 5564(a)-(b), including the

CFPA, 12 U.S.C. § 5481(14).

        4.       Village Capital is a non-bank mortgage company headquartered in Henderson,

Nevada. At all times material to this Complaint, the Company transacted business in this

district and elsewhere. The Company extends credit to consumers and is therefore a “covered

person” under the CFPA. 12 U.S.C. § 5481(5)-(7), (15)(A)(i).

                                      Factual Background

        5.       Village Capital offers a product known as an Interest Rate Reduction

Refinancing Loan (IRRRL), which allows veterans, with a loan guaranteed by the

Department of Veterans Affairs, to refinance their mortgages at lower interest rates.

        6.       The Company has roughly 100 employees and ten branches in ten states,

including San Antonio, Texas. Its loan portfolio consists of about 28,000 mortgages.

        7.       Village Capital markets its products to potential customers primarily through

phone calls and direct mail.




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       8.       The Company’s loan officers are responsible for taking calls from potential

customers and talking customers through the loan process, from filling out the application

through closing.

       9.       In March 2017, Village Capital hired a team of loan officers to staff a new

office in San Antonio, Texas, with the primary responsibility of generating loans through in-

home visits to veterans.

       10.      Between March 2017 and August 2018, the San Antonio office employed five

loan officers responsible for in-home sales presentations to veterans to induce them to

refinance their loans with the Company.

       11.      The San Antonio office primarily received leads for potential consumers from

the Company’s corporate office.

       12.      Loan officers were provided with preset in-home appointments with veterans,

a computer, a PowerPoint presentation, an Excel spreadsheet, a corresponding laminated

worksheet, and a script for use at the in-home sales presentations.

       13.      Village Capital’s San Antonio office designed the Excel spreadsheets for the

loan officers to generate the financial data illustrating the supposed benefits of refinancing.

The corresponding worksheet was the consumer-facing document designed to show the

consumer the benefits of refinancing.

       14.      Loan officers were instructed to go over the PowerPoint presentation with the

consumer, introducing Village Capital and its loan products. After the presentation, loan

officers were to ask the consumers for their current mortgage documents and begin the sales

pitch using the laminated worksheet.




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        15.     Loan officers were instructed to fold the worksheet in half; the top of the

worksheet states “Here’s what most banks don’t want you to know. . . .” Loan officers were

instructed to write the consumers’ current mortgage details (e.g., interest rate, taxes,

insurance, total house payment) on the worksheet and to read consumers the language printed

on the worksheet, stating, “I want to show you a benefit that is going to put you and your

family in a much better financial situation. The Veterans Administration designed a benefit

which was approved by the U.S. Congress to Honor Americas Veterans. Let me show you

how it works. . . .”

        16.     Loan officers were trained to then flip the worksheet and begin using the

Excel spreadsheet to “compare apples to apples” the consumer’s current loan and the

refinanced loan.

        17.     Using the consumers’ current mortgage details, loan officers would then enter

those numbers into the Excel spreadsheet and walk consumers through a comparison of their

current mortgage and the new mortgage at 38 months, 4 years, 5 years, and 20 years. The

bottom of the worksheet states “Obviously, our worst case scenario is MUCH BETTER than

your best case scenario, isn’t it?”

        18.     Loan officers were trained to flip the worksheet again to the last page and

write the numbers derived from the Excel spreadsheet onto the worksheet with a dry erase

marker. The loan officers would then use the worksheet to go over the “immediate benefits”

of the program, including the “total monthly benefit” and the fees.

        19.     After the presentation, loan officers would wipe the laminated worksheet

clean so that it could be used for the next presentation.




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       20.     The formulas in the Excel spreadsheets loan officers used during in-home

presentations to calculate the “apples to apples” comparison between consumers’ mortgages

and the IRRRL were flawed. Because the flawed formulas produced inaccurate results, the

figures used in the worksheets and quoted to consumers were misleading.

       21.     Specifically, the Excel spreadsheets, and therefore the worksheets presented to

consumers, were deceptive because they misrepresented the cost savings to the consumer of

the refinanced loan by: (1) inflating the future amount of principal owed under the existing

mortgage by underestimating the proportion of the consumer’s existing monthly payment

that is applied to principal; (2) underestimating the future amount of the refinanced

mortgage’s monthly payments by overestimating the loan’s term; and (3) overestimating the

total monthly benefit of the loan after the first month.

                                            Count I

                   Deceptive Acts or Practices, in Violation of the CFPA

       22.     The allegations in paragraphs 1 to 21 are incorporated here by reference.

       23.     An act or practice is deceptive if it involves a material misrepresentation or

omission that is likely to mislead consumers acting reasonably under the circumstances.

       24.     Information that is material to consumers is information that is important and

is likely to affect a consumer’s choice of, or conduct regarding, the product or service.

       25.     During in-home presentations, Village Capital’s loan officers misrepresented

the benefit to the consumer of refinancing. This information is material and would likely

affect a consumer’s decision to refinance with Village Capital.

       26.     Therefore, Village Capital engaged in deceptive acts and practices in violation

of the CFPA. 12 U.S.C. § 5536(a)(1)(B).




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                                   Prayer for Relief

   Wherefore, the Bureau requests that the Court:

1. permanently enjoin Village Capital from committing future violations of the CFPA,

   or any provision of “Federal consumer financial law,” as defined by 12 U.S.C. §

   5481(14);

2. grant additional injunctive relief as the Court may deem just and proper;

3. award damages or other monetary relief against Village Capital;

4. order Village Capital to pay redress to consumers harmed by its unlawful conduct;

5. order Village Capital to disgorge all ill-gotten gains;

6. impose on Village Capital a civil money penalty;

7. order Village Capital to pay the Bureau’s costs incurred in connection with

   prosecuting this action; and

8. award additional relief as the Court may determine to be just and proper.

                                  Respectfully submitted,

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                                  Jeffrey Paul Ehrlich
                                  Deputy Enforcement Director
                                  Kara K. Miller
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                                   Certificate of Service



       I HEREBY CERTIFY that on December 4, 2018, I served a true and correct copy of

the foregoing Complaint on the following counsel for Defendant via electronic mail:



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